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13   [Additional counsel on signature page]
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                               UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
17
     SARAH ANDERSEN, an individual;
18
     KELLY MCKERNAN, an individual;
19   KARLA ORTIZ, an individual,

20        Individual and Representative Plaintiffs,
                                                      CASE NO. 3:23-cv-00201-WHO
21          v.
22                                                    NOTICE RE: JOINT CASE
     STABILITY AI, LTD., a UK corporation;            MANAGEMENT STATEMENT
23   STABILITY AI, INC., a Delaware
     corporation;
24   MIDJOURNEY, INC., a Delaware
     corporation;
25   DEVIANTART, INC., a Delaware
26   corporation,

27       Defendants.

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 1            Defendants Stability AI, Ltd. and Stability AI, Inc. (“Stability Defendants”) respectfully

 2   submit the following notice regarding Plaintiffs’ “Rule 26(f) Report” (ECF No. 104), filed on

 3   August 22, 2023, and the parties’ joint case management statement due to be filed on or before

 4   September 12, 2023. Specifically, Plaintiffs’ Rule 26(f) report, as filed, states that “[c]ounsel for

 5   Defendants declined to participate in this Rule 26(f) Report.” (ECF No. 104 at 1 n.1.) Plaintiffs’

 6   statement is false.

 7            On August 8, 2023, the Court issued an order continuing the initial case management

 8   conference to September 19, 2023, and requiring the parties to submit a case management statement

 9   by September 12, 2023. (ECF No. 95.) The Court further ordered that, notwithstanding the Court’s

10   decision to continue attendant Rule 26 deadlines for Defendants Midjourney and DeviantArt,

11   “Plaintiffs and Stability AI Shall proceed with their Rule 26 obligations.” (Id.)

12            That same day, the parties conducted an initial Rule 26(f) conference, during which counsel

13   for Plaintiffs offered to prepare a first draft of the parties’ joint case management statement, and the

14   parties agreed to work together to complete such a joint statement in a timely manner.

15            Mid-afternoon on August 21, 2023 (and after the close of business in London, where the

16   Stability Defendants are based), counsel for Plaintiffs sent to counsel for Stability Defendants via

17   email a “draft Rule 26(f) Report,” asserted that the report was due to be filed the following day

18   (August 22), and requested that edits be returned by the following morning. (Schoenhard Ex. A

19   at 3.) Less than half an hour later, counsel for Stability Defendants reminded counsel for Plaintiffs

20   that, pursuant to the Court’s August 8, 2023 order, the parties’ joint case management statement is

21   due to be filed on September 12, and that the Court’s Initial Case Management Order (ECF No. 5)

22   similarly provided that the parties’ joint case management statement would be due seven days before

23   the Court’s case management conference unless otherwise ordered. (Id. at 2.) Counsel for Plaintiffs

24   did not immediately respond or dispute the Stability Defendants’ understanding of the Court’s

25   Order.

26            The following day, on August 22, 2023, counsel for Plaintiffs provided a brief response in

27   which they appeared to dispute the Stability Defendants’ understanding. (Schoenhard Ex. A at 2.)

28   But counsel for Plaintiffs did not propose any resolution to the parties’ difference in understanding.


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 1          Again, counsel for Stability Defendants responded in approximately half an hour. Counsel

 2   for Stability Defendants reiterated their understanding of the Court’s September 12 deadline;

 3   reminded counsel for Plaintiffs that the Stability Defendants are based in London, thus necessitating

 4   sensitivity to time zones when working on joint submissions; and expressly stated that the Stability

 5   Defendants “will continue” to proceed with their Rule 26 obligations, and “will work . . . to provide

 6   responsive comments and to insert appropriate additional language” into the parties’ joint case

 7   management statement in advance of the Court’s deadline. (Schoenhard Ex. A at 1.) Counsel for

 8   Plaintiffs did not respond. (Schoenhard Decl. ¶ 3.)

 9          After close of business on August 22 (late in the evening on the East Coast and, indeed,

10   August 23 in London), and without advising the Stability Defendants of their intent to do so

11   (Schoenhard Decl. ¶ 4), Plaintiffs proceeded with a unilateral filing of a revised version of their

12   “Rule 26(f) Report.” (ECF No. 104.) In that filing—contrary to the Stability Defendants’ express

13   statement that they would provide responsive comments and appropriate language to include in a

14   joint case management statement, Plaintiffs falsely claimed that “[c]ounsel for Defendants declined

15   to participate in this Rule 26(f) Report.” (Id. at 1 n.1.) The Stability Defendants further note that

16   Plaintiffs omitted several of the categories of information that this Court requires to be included in

17   a Joint Case Management Statement pursuant to Civil L.R. 16-9 and the Standing Order for All

18   Judges of the Northern District of California regarding Contents of Joint Case Management

19   Statement (“Standing Order”).

20          Notwithstanding Plaintiffs’ unilateral filing and false statement, the Stability Defendants

21   reiterate their intent, consistent with the Court’s August 8 order, to work with Plaintiffs to prepare

22   and submit a joint case management statement addressing the topics required by Civil L.R. 16-9 and

23   the Standing Order on or before September 12, 2023.

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 1   Dated: August 23, 2023
 2

 3                                     Respectfully submitted,

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